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                               MINUTE ORDER



 CASE NUMBER:            CRIMINAL NO. 17-00101-LEK (1)
 CASE NAME:              United States of America v. Anthony T. Williams


      JUDGE:      Leslie E. Kobayashi           DATE:            11/27/2019

COURT ACTION: EO: COURT ORDER DENYING DEFENDANT’S “MOTION IN
OPPOSITION TO ORDER DENYING PRIVATE ATTORNEY GENERAL ANTHONY
WILLIAMS SELECTIVE PROSECUTION MOTION”

       On August 8, 2019, this Court filed its EO: Court Order Denying Defendant’s
“Motion to Show Prosecutors Ronald G. Johnson and Gregg Paris Yates Engaged in
Unlawful Selective Prosecution Against Private Attorney General Anthony Troy
Williams” (“8/8/19 EO”). [Dkt. no. 542.] On September 3, 2019, pro se Defendant
Anthony T. Williams (“Defendant”) filed his “Motion in Opposition to Order Denying
Private Attorney General Anthony Williams Selective Prosecution Motion,” [dkt.
no. 570,] which is CONSTRUED as his motion for reconsideration of the 8/8/19 EO
(“Motion for Reconsideration”). Plaintiff the United States of America filed its response
to the Motion for Reconsideration on September 17, 2019. [Dkt. no. 582.] The Court has
considered the Motion for Reconsideration as a nonhearing motion, pursuant to Local
Rule 7.1(d).

      This Court has previously stated:

                     Although there is no rule in the Federal Rules of Criminal
             Procedure expressly authorizing the filing of motions for
             reconsideration, this district court has recognized that many courts –
             including the Ninth Circuit – allow motions for reconsideration to be
             filed in criminal cases. See, e.g., United States v. Hee, Cr. No.
             14-00826 SOM, 2015 WL 6510345, at *11 (D. Hawai`i Oct. 27,
             2015) (listing cases). “[M]otions for reconsideration in criminal
             cases are governed by the rules that govern equivalent motions in
             civil proceedings.” Id. (alteration in Hee) (citations and quotation
             marks omitted). The 8/20/18 EO was a nondispositive order, and
             Local Rule 60.1 would govern a motion for reconsideration of a
             nondispositive order in a civil case. Local Rule 60.1 states that such
             motions for reconsideration “may be brought only upon the
             following grounds: (a) Discovery of new material facts not
             previously available; (b) Intervening change in law; (c) Manifest
             error of law or fact.”
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[EO: Court Order Denying Def.’s “Motion for Reconsideration of Court’s 8/21/18
Electronic Order Re: ‘United States’s Motion to Extend the Deadline to Respond to
Defendant’s Motion to Dismiss,’” filed 10/1/18 (dkt. no. 329) (“10/1/18 EO”), at 2
(alteration in 10/1/18 EO).]

       The Motion for Reconsideration argues the 8/8/19 EO required Defendant to
present “a written or oral confession from the prosecutors that the prosecution was based
on an impermissible motive” in order to prove his allegation of selective prosecution.
[Motion for Reconsideration, Decl., of Counsel, Exh. A at 1 of 3.] Defendant merely
disagrees with the Court’s analysis of the evidence he presented and the ultimate
conclusion that the evidence did not constitute “‘clear evidence’” of selective
prosecution. See 8/8/19 EO at 2 (quoting United States v. Sutcliffe, 505 F.3d 944, 954
(9th Cir. 2007)). As this Court has previously stated, Defendant’s “[m]ere disagreement
with a previous order is an insufficient basis for reconsideration.” See Order Denying
Def.’s Motion for Reconsideration, filed 2/28/19 (dkt. no. 431), at 8 (citations and
quotation marks omitted).

       Defendant’s Motion for Reconsideration does not identify any newly available
evidence or intervening change in the law. Further, Defendant has not established any
manifest error of law or fact in the 8/8/19 EO. Defendant’s Motion for Reconsideration is
therefore DENIED.

      IT IS SO ORDERED.


Submitted by: Agalelei Elkington, Courtroom Manager
